                   Case 2:22-mj-00584 Document 1 Filed on 05/15/22 in TXSD United
                                                                            Page States
                                                                                  1 of 3Courts Southern
                                                                                                              District of Texas
                                                                                                                     FILED
                                                                                                                   5/15/22
                                       UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk of Court

                   UNITED STATES OF AMERICA
                               Vs.                                                       CRIMINAL COMPLAINT
                        Michael STEWART

                                                                                         Case Number: C-22-584M



       I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about                  May 14, 2022       in      Kenedy         County, in the
                                                                      (Date)

Southern District of Texas, defendant,                    Michael STEWART




did knowingly or in a reckless disregard of the fact that an alien had come to, entered, or remained in the United
States in violation of law, transport, or move or attempt to transport or move such alien within the United States by
means of transportation or otherwise, in furtherance of such violation of law


in violation of Title       --------
                               8     United States Code, Section(s)                                      1324
I further state that I am a(n)                    Border Patrol Agent          and that this complaint is based on the
                                                          Official Title
following facts:

                    See Attached Affidavit of U.S. Border Patrol Agent          Joe Gonzalez


Continued on the attached sheet and made a part of this complaint:




Submitted by reliable electronic means, sworn to, signature
attested telephonically per Fed.R.Crim.P.4.1, and probable cause                               Printed Name of Complainant
found on the:

                             May 15, 2022                                        at             Corpus Christi, Texas
                                   Date                                                                City and State




           Julie K. Hampton U.S. Magistrate Judge
                     Name and Title of Judicial Officer                                       Signature of Judicial Officer
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